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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                  FORT WORTH DIVISION

  UNITED STATES OF AMERICA

  V.                                                       No. 4:22-MJ-921

  XAVIER DESEAN WATSON
  a/k/a "Xavier," "XAECO,"
  "ghostspc," "nomore.wonderland," and
  "Xavier Strapz"

                       JOINT MOTION TO CONTINUE TIME TO INDICT

          The government and the defendant, Xavier Desean Watson, jointly request that

   this Honorable Court extend the time upon which an indictment must be filed for this

   particular case.

          (1)      The Government filed a criminal complaint against the defendant on

                  November 15, 2022, alleging a violation of 18 U.S.C. §§ 922(0) and

                   924(a)(2), possession and transfer of machineguns.

          (2)      The defendant was arrested on November 17, 2022, and initially appeared

                   before the Court the next day on November 18. On November 23, the

                   Court held a probable cause and detention hearing. The defendant waived

                   both, and the Court found probable cause supported the complaint and

                   ordered the defendant detained pending this case.

           (3)     Under the Speedy Trial Act, 18 U.S.C. § 3161(b), an indictment must be

                   returned on the instant charge "within thirty days from the date on which

                   [the Defendant] was arrested or served with a summons in connection with

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               such charges." This 30th day will fall on or about December 23, 2022,

               taking into account any excludable time under 18 U.S.C. § 3161(h)(l)(F)

               and (H), and Federal Rule 45(a).

       (4)     The parties request that the Court continue presentation of the Defendant's

               case to the Grand Jury for an additional 39 days from December 23, 2022,

               which would extend the deadline to January 31, 2023. Both parties believe

               that with additional time in which to gather information about the defendant

               and the circumstances surrounding the events leading to the pending case, a

               plea agreement or other disposition may be reached, thus negating the need

               for an indictment.

       (5)     Therefore, the granting of this continuance would be in the interest of

               judicial economy. Both parties further believe that a continuance would

                serve the ends of justice and would outweigh the interest of the public in a

                speedy trial. See 18 USC.§ 3161 (h)(8)(A).

       (6)      This request is not made in effort to unduly delay the proceedings, but

                rather to ensure that justice is achieved. The parties both believe that a

                failure to grant the requested continuance would deny the parties the time

                necessary for effective preparation, taking into account the exercise of due

                diligence. See 18 U.S. C. § 3161 (h) (8) (BJ (iv). As such, return of the

                indictment within the normal 30-day period could result in a miscarriage of

                justice. See 18 USC. § 3161 (h)(8)(B)(J).

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        (7)     For the foregoing reasons, the parties respectfully request that this

                Honorable Court continue the time upon which an indictment must be filed

                for an additional 39 days, until on or about January 31, 2023.

                                                          Respectfully submitted,


                                                          LEIGHA SIMONTON
 AGREED TOBY                                              CHAD E. MEACHAM
                                                          UNITED STATES ATTORNEY


                                                          Isl Frank L. Gatto
/XAVIER DESEAN WATSON                                     FRANKL. GATTO
  Defendant                                               Assistant United States Attorney
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 Attorney for Defendant




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